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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

TAMPA DIVISION

JOAN WHITNEY

Plaintiff,

VS. CASE NUMBER:
8:11-CV-00357-JSM-AEP

NRA GROUP, LLC (a foreign
limited liability company)

Defendants.

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JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE

COME NOW, the Parties herein, by and through their undersigned counsel,
and will represent to the Court that this matter has been amicably settled, and
would request entry of a Final Order of Dismissal With Prejudice in this matter,

with each party to bear their own costs and attorneys’ fees.

DATED this 2nd day of December, 2011.

 

/s/ James S. Giardina /s/ Sangeeta P. Spengler
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Attorney for Plaintiff Attorneys for Defendant

This motion/petitien/atipulation has been duly

considered and is hereby S KAW) ED.
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JAMES S. MOODY, JK
/ /] U.S. DISTRICT JUD
